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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


  Civil Action No. 1:20-cv-03024-STV

  WAZIR ALI MUHAMMAD,

          Plaintiff,

  v.

  WAKEFIELD AND ASSOCIATES,
  UCHEALTH UNIVERSITY OF COLORADO HOSPITAL,
  EXPERIAN CONSUMER REPORTING AGENCY,
  TRANSUNION CONSUMER REPORTING AGENCY, and
  EQUIFAX CONSUMER REPORTING AGENCY,

          Defendants.



           NOTICE OF SETTLEMENT BETWEEN PLAINTIFF AND DEFENDANT
                    EXPERIAN INFORMATION SOLUTIONS, INC.


          PLEASE TAKE NOTICE that Defendant Experian Information Solutions, Inc. files

  this notice of settlement pursuant to D.C.COLO.LCivR 40.2(b). The parties have

  reached an agreement on all material terms required to settle all of Plaintiff’s claims

  against Experian Information Solutions, Inc. pending in this action.

          The parties anticipate that the performance of the terms of the settlement

  agreement will be completed within thirty (30) days of the date of this notice, at which

  time, the parties shall file a Stipulation for Dismissal of the claims asserted against

  Experian Information Solutions, Inc.




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    Dated: December 10, 2020              Respectfully Submitted,


                                          By: s/ Ani Ghazikhanian
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                                            EXPERIAN INFORMATION
                                            SOLUTIONS, INC.




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                                  CERTIFICATE OF SERVICE

          I hereby certify that on this 10th day of December, 2020, I electronically filed the

  foregoing with the Clerk of the Court using the CM/ECF system which will send

  notification of such filing to the following email addresses:

   Reed A. Melnick                                  James P. Acosta
   Wakefield & Associates Inc.                      Quilling Selander Lownds Winslett &
   P.O. Box 58                                      Moser PC
   Fort Morgan, CO 80701                            6900 North Dallas Parkway, Suite 800
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                                                    Reporting Agency
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   Attorneys for Equifax Consumer
   Reporting Agency

          I further certify that on December 10, 2020, I caused the foregoing document to

  be placed in a sealed envelope with postage thereon fully prepaid, in the United States

  mail at Irvine, California, addressed to the following non-CM/ECF participant(s):

   Wazir Ali Muhammad
   1031 East 150th Street
   Compton, CA 90220
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   Pro Se


                                                      s/ Ani Ghazikhanian
                                                      Ani Ghazikhanian




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